             Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 1 of 6




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 9
                             UNITED STATES DISTRICT COURT
10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
12    CRISTA RAMOS, et al.,
                                             Case No. 3:18-cv-01554-EMC
13                 Plaintiffs,
14                                           STIPULATION TO STAY DISTRICT
      v.                                     COURT PROCEEDINGS PENDING
15                                           APPELLATE REVIEW OF
                                             PRELIMINARY INJUNCTION;
16    KIRSTJEN NIELSEN, et al.,              [PROPOSED] ORDER
17
                   Defendants.
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                    STIPULATION TO STAY PROCEEDINGS – No. 3:18-cv-1554
              Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 2 of 6




 1          Pursuant to Local Rule 7-12, The parties hereby stipulate to, and respectfully request, on
 2   the terms set forth in this stipulation and in the Declaration of Donald Neufeld [ECF No. 135-1],
 3   a stay of proceedings on the merits of Plaintiffs’ claims, including the obligation to propose a
 4   schedule for resolution of the case, pending final disposition of Defendants’ appeal of the
 5   preliminary injunction, including through any additional appellate channels in which relief may
 6   be sought.
 7          The basis for this stipulation is as follows:
 8          1.      On October 3, 2018, the Court issued an order preliminarily enjoining and
 9   restraining Defendants “from engaging in, committing, or performing, directly or indirectly, by
10   any means whatsoever, implementation and/or enforcement of the decisions to terminate
11   [Temporary Protected Status (“TPS”)] for Sudan, Haiti, El Salvador, and Nicaragua pending
12   resolution of this case on the merits.” See Order [ECF No. 128] at 42. Further, this Court
13   ordered Defendants to report within 15 days on the “administrative steps” Defendants have taken
14   to comply with the preliminary injunction. See id. at 43. Upon the parties’ joint submission, that
15   deadline was extended to October 23, 2018. See Orders [ECF Nos. 132, 133]. In addition, the
16   Court has directed the parties to file a joint case management statement by November 2, 2018,
17   and has scheduled case management conferences for October 26, 2018, and November 8, 2018.
18   Id.
19          2.      On October 11, 2018, Defendants appealed the preliminary injunction to the U.S.
20   Court of Appeals for the Ninth Circuit. [ECF No. 129]. That court set a briefing schedule for
21   the appeal of the preliminary injunction consistent with Ninth Circuit Rule 3-3.
22          3.      Further, on October 23, 2018, pursuant to this Court’s Order, Defendants reported
23   on the administrative steps they are undertaking in response to the preliminary injunction. In the
24   Declaration of Donald Neufeld [ECF No. 135-1] attached to that filing, Defendants represented
25   that, in the event the preliminary injunction was reversed on appeal, any termination of TPS for
26   Sudan, Haiti, El Salvador, and Nicaragua would go into effect no sooner than 120 days from the
27   issuance of any appellate mandate to this Court. See Declaration of Donald Neufeld [ECF No.
28   135-1] ¶ 10. Defendants further represented in the Neufeld Declaration that the planned
                              STIPULATION TO STAY PROCEEDINGS –
                                       No. 3:18-cv-1554 - 1
              Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 3 of 6




 1   administrative steps described therein were based on an agreement reached with Plaintiffs “as
 2   part of a negotiation to stay district court proceedings pending appellate review of the
 3   preliminary injunction.” Id. ¶ 19.
 4          4.      The parties have committed to working in good faith to resolve any disputes
 5   concerning DHS’s course of action as described in the Declaration of Donald W. Neufeld, Dkt.
 6   135-1, including reasonable steps to address confusion among TPS beneficiaries and other
 7   stakeholders regarding that course of action. In the event Plaintiffs believe DHS’s actions do not
 8   comply with its announced course of action, the parties shall work in good faith to resolve the
 9   matter before they may petition the Court for further guidance.
10          5.      This Court has the authority to issue a stay of proceedings pending appeal: “[T]he
11   power to stay proceedings is incidental to the power inherent in every court to control the
12   disposition of the causes of its docket with economy of time and effort for itself, for counsel, and
13   for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936).
14          6.      Accordingly, Plaintiffs and Defendants, through counsel, stipulate and request the
15   Court to order as follows:
16                  (a)     Further proceedings on the merits of this case, including discussions
17          about, and entry of, a schedule for resolving the merits of the case, shall be stayed
18          pending final resolution of Defendants’ appeal of the preliminary injunction, including
19          through any additional appellate channels in which relief may be sought.
20                  (b)     In the event that the preliminary injunction is affirmed in whole or part
21          after all appellate channels have been exhausted, the parties anticipate resuming litigation
22          in this Court. In the event that the preliminary injunction is vacated on appeal for any of
23          the four terminations, nothing in this agreement forecloses Plaintiffs from initiating
24          discovery forthwith, nor does anything in this agreement foreclose Defendants from
25          opposing such discovery. Plaintiffs need not wait until the mandate issues before
26          initiating discovery in such a situation.
27                  (c)     Following the conclusion of the appeal of the preliminary injunction, TPS
28          will remain in effect for Sudan, Haiti, El Salvador, and Nicaragua for a minimum of the
                              STIPULATION TO STAY PROCEEDINGS –
                                       No. 3:18-cv-1554 - 2
             Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 4 of 6




 1          later of a) 120 days following the issuance of any mandate to the district court or b) the
 2          Secretary’s previously-announced effective date for the termination of TPS designations
 3          for each individual country (Nicaragua – January 5, 2019; Haiti – July 22, 2019; El
 4          Salvador – September 9, 2019).
 5                  (d)     Nothing in this stipulation prevents Plaintiffs from presenting to the Court
 6          for resolution any issues concerning Defendants’ compliance with the proposed plan to
 7          implement the preliminary injunction [ECF No. 135-1], or with the terms of this
 8          stipulation. Should Defendants for any reason fail to comply with the plan to implement
 9          the preliminary injunction [ECF No. 135-1], or the terms of this stipulation, Plaintiffs
10          reserve the right to request that this stay be lifted.
11          7.      Following the exhaustion of all appeals, the parties plan to file a status report with
12   this Court within 14 days of the issuance of the mandate to this Court.
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14
15          SO STIPULATED this 26th day of October, 2018.
16
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                               STIPULATION TO STAY PROCEEDINGS –
                                        No. 3:18-cv-1554 - 3
             Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 5 of 6



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23
                             CIVIL LOCAL RULE 5-1(i) ATTESTATION
24
            Pursuant to Local Rule 5-1(i)(3), regarding signatures, Rhett P. Martin hereby attests that
25
     concurrence in the filing of this document has been obtained from counsel for Plaintiffs.
26
                                                             /s/ Rhett P. Martin
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                              STIPULATION TO STAY PROCEEDINGS –
                                       No. 3:18-cv-1554 - 4
           Case 3:18-cv-01554-EMC Document 137 Filed 10/26/18 Page 6 of 6




 1                                   [PROPOSED] ORDER
 2   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 3        Dated: ___________, 2018
                                                        The Honorable Edward M. Chen
 4
                                                            United States District Judge
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                                  No. 3:18-cv-1554 - 5
